Case 2:20-cv-00983-TSZ Document 75-92 Filed 02/07/22 Page 1 of 3




 EXHIBIT 92
                                                                                                                                                                                            HUNTERS CAPITAL
                                          Case 2:20-cv-00983-TSZ Document 75-92 Filed 02/07/22 Page 2 of 3

   Message

   From                           Jill     Cronauer          OEXCHANGELABS OU EXCHANGE ADMINISTRATIVE                                             GROUP
                                   FYDIBOHF23SPDLT CN RECIPIENTS CN 91572F2805FF4209A5967A6F23875FA9-JILL
  Sent                             313 2020 8 1839 PM                                                                                                                                     Rough & Associates
  To                              Steve          Hooper        steve esrseattlecom                                                                                                       JILL CRONAUER
   CC                              Ethan Stowell                  ethan ethanstowellrestaurants                        com                                                                   9/30/2021
                                   RE COVID-19                    ESR Response
  Subject
                                                                                                                                                                                                 62
   Hi   Steve          and       Ethan



  Thank           you for your thoughtful                               note   We value our relationship and will work                            together through                these uncertain       times

   We ask that you continue                                  to    pay your monthly NNNs                 and         we accept        the rent deferment



   It   would          help us to understand                            the economic          impact    COVID-19 has had on your business                                   As you close out March           please

   send us your monthly financials                                       compared     to      last   year   of   the same period              We are hoping and                   pressing for forms of           relief


  from the city state and federal                                       government         This      information            will   remain confidential                and    we   do need support



   We have              been actively sending out information to our tenants                                                  on grants and loans as we are made aware of them as

  well         as deferral               payment             plans offered        by the City One step we have                         taken with commercial                   tenants   that   share

   clumpsters               is   to      reduce the pick-ups                   and turn off lights          in   buildings           where office tenants              are working       from   home
   Reducing garbage recycle com post                                           pick-ups       has cut costs          across        our buildings     by more than              2000 month These               are

   small things                  but     we feel        it   is   absolutely      necessary to cut             all    wasted         or unnecessary            expenses at this time



  Again           I
                      want       to      thank you for being communicative                              and transparent                We are      still
                                                                                                                                                              open with business as usual              If
                                                                                                                                                                                                            you

   have          any marketing material you would                                  like   us to      share with the residents                 above Tavalota                about your hours deliveries

   etc         we are more than happy to pass this on




   From Steve                    Hooper

  Sent Wednesday                             March 11 2020 943 PM

  To      Jill    Cronauer                Jill                                             Erin Espinosa

   Cc Ethan             Stowell


  Subject              COVID-19                  ESIR    Response




   Hi   Jill          Erin



  As you              know        the people of our city are suddenly                                facing a        crisis   unprecedented              in   our lifetime and that        is   particularly

  true of the               restaurant industry                         and our employees



  We are working                         hard to protect                 our teams and          the community which                    we serve            However          with so much uncertainty

   around this extremely                              fluid       and    rapidly evolving        situation           we need to make bold moves to protect                            our people       and the

   place         we call home


  As an industry and city                               we have          never seen       a   precipitous            drop     in   business   like   what we have experienced                   in   only   one

  week                Even the impact                   of the      2008 2009        financial        crisis   didn't         come     close to   the losses we're currently seeing across our

   portfolio           in   the          last    8   days and the Great              Recession's collapse                     took    18 months to            fully   unfold



  We are reaching out to you today to let you know that we will be suspending of our rent payments effective with                                  all



  the April 1st payment We intend to resume scheduled payments of rent and associated charges as soon as acceptable

   levels of           customers                 return       and we can         resume normal operations of our restaurants




CONFIDENTIAL                                                                                                                                                                                         CHOP-0027368
                                                                                                                                                                             HUNTERS CAPITAL
                                     Case 2:20-cv-00983-TSZ Document 75-92 Filed 02/07/22 Page 3 of 3

  While       we do not want                  to    do this we realize that doing so will give                      us   the chance      to    maximize our ability          to retain         our

  teams        and remain open where                           possible     to   support the public through                    pickup orders delivery             or in-restaurant

   dining      for the          duration of this crisis               Our team members are some of the lowest wage workers                                        in    our society and thus

   are   the most vulnerable                       in   the current crisis While              we will be forced          to   make some hard          decisions         around     staffing      levels

   changes           it   is   our goal to protect              as   many people        as    possible



   Once the          current         crisis   finds      its   resolution   and       we return to our scheduled                 rent   payments we              look   forward to      sitting


   down with you                 to discuss         what       a fair   resolution       is   in   all   of this   We also encourage            you   to   reach out to          city   leaders to

   see   if
              they are planning                to       do any rent     relief   to   help offset some of these challenges                     we are      all
                                                                                                                                                                 facing as   a   community


  Thanks        in    advance         for your           understanding       and partnership as we work                       through   this   unprecedented             situation       It   will   not

   be forgotten



   Sincerely

   Ethan         Steve




   Ethan      Stowell

   Founder                CEO


   Steve      Hooper            Jr

   President




   Ethan      Stowell           Restaurants

   2622       NW Market              St Suite A

   Seattle      WA 98107
   p 206-588-0030




CONFIDENTIAL                                                                                                                                                                            CHOP-0027369
